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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )               Case No. 8:14CR409
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                     ORDER
DILANG DAT,                                   )
                                              )
                     Defendant.               )



       This matter is before the court on the defendant Dilang Dat's Motion for Bench Trial

(#130), signed by the defendant, thereby waiving jury trial in writing.

       IT IS ORDERED:

       Pursuant to Fed. R. Crim. P. 23(a), the government shall, on or before June 12,

2015, advise the court whether or not it consents to a bench trial in this case.

       Dated this 3rd day of June 2015.

                                          BY THE COURT:


                                          s/ F.A. Gossett, III
                                          United States Magistrate Judge
